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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

   MONUMENT PEAK                      §
   VENTURES, LLC                      §
     Plaintiff,                       §
                                      §
   v.                                 §   CIV. A. NO. 2:21-cv-0345-JRG-RSP
                                      §
                                      §
   XEROX CORPORATION                  §
     Defendant.                       §   JURY TRIAL DEMANDED




                             EXHIBIT 22
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